Case 2:21-mc-00175-JAK-MAA Document 1 Filed 02/23/21 Page 1 of 2 Page ID #:1




  1 QUINN EMANUEL URQUHART & SULLIVAN, LLP
    Randa A.F. Osman (Bar No. 150798)
  2 randaosman@quinnemanuel.com
    865 South Figueroa Street, Floor 10
  3 Los Angeles, California 90017-2543
    Telephone: (213) 443-3000
  4 Facsimile: (213) 443-3100
  5 QUINN EMANUEL URQUHART & SULLIVAN, LLP
    Lucas V.M. Bento (pro hac vice forthcoming)
  6 Jingtian Chen (pro hav vice forthcoming)
    lucasbento@quinnemanuel.com
  7 jingtianchen@quinnemanuel.com
    51 Madison Avenue, Floor 22
  8 New York, NY 10010
    Telephone: (212) 849-7000
  9 Facsimile: (212) 849-7100
 10 Attorneys for Petitioner
    Shervin Pishevar
 11
 12                      UNITED STATES DISTRICT COURT
 13
                       CENTRAL DISTRICT OF CALIFORNIA
 14
 15
      IN RE APPLICATION OF                   Misc. Action No. _________
 16   SHERVIN PISHEVAR FOR AN
      ORDER TO TAKE DISCOVERY                EX PARTE APPLICATION AND
 17   FOR USE IN FOREIGN                     PETITION FOR AN ORDER TO
      PROCEEDINGS PURSUANT TO 28             CONDUCT DISCOVERY FOR
 18   U.S.C. § 1782,                         USE IN FOREIGN PROCEEDINGS
                                             PURSUANT TO 28 U.S.C. § 1782
 19                            Petitioner.
 20
 21
 22
 23
 24
 25
 26
 27
 28

                                                      EX PARTE APPLICATION AND PETITION
Case 2:21-mc-00175-JAK-MAA Document 1 Filed 02/23/21 Page 2 of 2 Page ID #:2




  1        Petitioner Shervin Pishevar (“Petitioner”), pursuant to 28 U.S.C. § 1782 and
  2 Federal Rules of Civil Procedure 26, 34, and 45, respectfully applies to this Court for
  3 an ex parte order in the form attached as Exhibit 1 to the Declaration of Lucas Bento
  4 dated February 23, 2021 (the “Bento Declaration”), authorizing Petitioner to take
  5 discovery for use in contemplated civil and criminal proceedings in the United
  6 Kingdom in the form of the subpoenas attached as Exhibit 2 to the Bento Declaration.
  7        In support of its application and petition, Petitioner submits: (1) a
  8 Memorandum of Points and Authorities, (2) the Bento Declaration, (3) the
  9 Declaration of Lord Macdonald of River Glaven Kt QC dated February 16, 2021, (4)
 10 the Declaration of Charlotte Watson dated February 19, 2021, (5) a Request to
 11 Proceed Ex Parte, (6) a Notice of Interested Parties, and (7) a Notice of Pendency of
 12 Other Actions.
 13
      Dated: February 23, 2021              Respectfully submitted,
 14
                                            /s/ Randa A.F.Osman
 15
                                            Randa A.F. Osman (SBN 150798)
 16                                         randaosman@quinnemanuel.com
                                            QUINN EMANUEL URQUHART &
 17                                         SULLIVAN, LLP
                                            865 S. FIGUEROA ST., FLOOR 10
 18                                         LOS ANGELES, CA 90017
                                            Telephone: (213) 443-3000
 19                                         Facsimile: (213) 443 3100
 20                                         Lucas V.M. Bento (pro hac vice forthcoming)
                                            Jingtian Chen (pro hac vice forthcoming)
 21                                         lucasbento@quinnemanuel.com
                                            jingtianchen@quinnemanuel.com
 22                                         QUINN EMANUEL URQUHART &
                                            SULLIVAN, LLP
 23                                         51 MADISON AVENUE, FLOOR 22
                                            NEW YORK, NY 10010
 24                                         Telephone: (212) 849-7000
                                            Facsimile: (212) 849-7100
 25
                                            Attorneys for Petitioner
 26                                         Shervin Pishevar
 27
 28

                                                2
                                                           EX PARTE APPLICATION AND PETITION
